      Case 4:23-cv-00593-BRW Document 24-2 Filed 03/18/24 Page 1 of 3




                     UNITED STATES DISTRICT COURT
                     EASTER DISTRICT OF ARKANSAS
                           CENTRAL DIVISION

TYLER L. BATTLES                                                 PLAINTIFF

vs.                       CASE NO.4:23-CV-593-BRW

SHELTER MUTUAL INSURANCE COMPANY                               DEFENDANT

       EXHIBIT B TO SHELTER’S MOTION FOR SUMMARY JUDGMENT
        Case 4:23-cv-00593-BRW Document 24-2 Filed 03/18/24 Page 2 of 3




                                                                                          Jason Duarte
                                                                                    Casualty Adjuster
                                                                                 Phone: 501-954-3008
                                                                                   Fax: 888-742-5671
                                                                  Email: JDuarte@ShelterInsurance.com
January 04, 2021

CHERIE BATTLES
310 E 13TH ST
NORTH LITTLE ROCK, AR 72114-4243




RE:      Claim Number:              AT0000002756959
         Date of Loss:              February 05, 2020
         Insured:                   Cherie Battles
         Claimant:                  Teyler Battles

Dear Ms. Battles,

You have made an Underinsured Motorist claim, which is included by endorsement on our
A-19.4-A automobile policy. This endorsement does not cover you for Underinsured Motorist
coverage.

Under the Underinsured Motorist endorsement, "Insured" is defined as:

       Insured means:
       (a) You;
       (b) Relatives; and
       (c) Individuals occupying the described auto who are listed in the
           Declarations as an "additional listed insured"; if neither they, nor their
           spouse, owns a motor vehicle.


Also, the underlying policy defines "You" and “Relative” as:

       You means any person listed as a named insured in the Declarations and, if that
       person is an individual, his or her spouse.

       Relative means an individual related to you by blood, marriage, or adoption,
       who is resident of your household. It includes your child who is away at school,
       if that child is both unmarried and unemancipated. Relative also includes any
       foster child in your legal custody for more than 90 consecutive days immediately
       before the accident. An individual who owns a motor vehicle, or whose



                                       ShelterInsurance.com
                               PO Box 6008 Columbia, MO 65205-6008
        Case 4:23-cv-00593-BRW Document 24-2 Filed 03/18/24 Page 3 of 3



RE:AT0000002756959                             2 of 2



        husband or wife owns a motor vehicle is excluded from the definition of
        relative.


Based on our investigation and this policy language, you are not an insured. Therefore, Shelter
Insurance Companies deny Underinsured Motorist coverage for this claim.

By quoting these policy provisions, Shelter is not waiving any other provision and specifically
reserves the right to decline coverage for any other reason that may come to its attention in the
future.

If you have any other information that you believe suggests this policy or any other Shelter
policy provides this coverage, please send it to me immediately so that we may review it for
coverage.

If you have any questions, please contact me. Thank you.



Jason Duarte
Claims Department
